                             No. 22-50144

        IN THE UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


                    UNITED STATES OF AMERICA,
                                   Plaintiff-Appellee,

                                   v.

                         JEFFREY FORTENBERRY,
                                     Defendant-Appellant.


         APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF CALIFORNIA
               DISTRICT COURT NO. CR 21-491-SB

             GOVERNMENT’S ANSWERING BRIEF




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              GOVERNMENT’S ANSWERING BRIEF


                                    I

                           INTRODUCTION

     Defendant Jeffrey Fortenberry was a congressman who received

illegal campaign contributions at a Los Angeles fundraiser. When

federal agents based in Los Angeles investigated the contributions and

questioned defendant about them, he lied and falsely denied knowing

(1) that the contributions had been funneled to his campaign by a

foreign national, which federal law prohibits, and (2) that the
contributors had not been publicly disclosed, which federal law requires.

A jury convicted defendant of knowingly and willfully making false

statements that were material to a federal agency.

     This Court should affirm.

                                     II

                         ISSUES PRESENTED

     A. A statement is “material” if it has “a natural tendency to

influence, or was capable of influencing, the decisions or activities of a

government agency.” Did the district court permissibly exercise its

discretion when it declined to give defendant’s incorrect and confusing

additional instruction, which would have told jurors that “to be

material, a false statement must be capable of influencing a then-

existing investigation or decision,” and that “a false statement is not

material merely because it causes the government to investigate the

veracity (truth or falsehood) of the statement itself”?

     B. If someone in one district makes a misstatement that

materially affects a government investigation in another district, does

venue for a false-statements prosecution lie in the district of

investigation?



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                                   III

                    STATEMENT OF THE CASE

A.   Jurisdiction, Timeliness, and Bail Status

     The district court had jurisdiction over defendant’s prosecution

under 18 U.S.C. § 3231. This Court has jurisdiction over defendant’s

appeal under 28 U.S.C. § 1291.

     The district court imposed its sentence on June 28, 2022, and

entered its judgment on the docket the same day. (1-ER-2–3). 1

Defendant filed a timely notice of appeal the next day. (9-ER-2099.)

Defendant was sentenced to two years of probation, including

community service, and fined $25,000; he is not in custody.

B.   Statement of Facts and Procedural History

     1.    Defendant receives $30,000 in illegal conduit
           contributions from a foreign national at a Los Angeles
           fundraiser

     Defendant was a politician from Nebraska first elected to

Congress in 2004. (7-ER-1571.) He was involved with “In Defense of

Christians,” or “IDC,” a lobbying organization whose purpose was

     1 “CR” refers to the Clerk’s Record in the district court, “ER” refers

to defendant-appellant’s excerpts of record, and “AOB” refers to
defendant-appellant’s opening brief.



                                    3
protecting Christians and other religious minorities in the Middle East.

(5-ER-805, 910–911.) Defendant had both an interest in the issue and

ties to the Catholic Lebanese community (and Middle Eastern Christian

community more generally), including to the founder of IDC, Toufic

Baaklini, and an IDC board member and prominent Lebanese Catholic

in Los Angeles, Elias Ayoub. (5-ER 805–818 (Baaklini testimony); 5-

ER-1048–1054 (Ayoub testimony); see also 7-ER-1571–73 (testimony of

Rep. Anna Eshoo of California, describing her background as an

Assyrian Catholic and her relationship with defendant); AOB 5–6.)

     The initial funding for IDC — “about $1.3 million” — came from

Gilbert Chagoury, a foreign billionaire and Lebanese Christian who was

close with Baaklini and Ayoub. (5-ER-821–829, 1029–1035.) In 2015,

the FBI’s Los Angeles–area office opened a public-corruption

investigation into Chagoury’s activities, including whether he was

illegally donating to the campaigns of political figures in California and

around the United States. (4-ER-531, 536–37, 560–561 (discussing the

background of the investigation and some of the political figures

suspected of having received illegal contributions); see also 6-ER-1382–

1383 (factual stipulation about the investigation read to the jury).)



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     In late 2015, defendant decided to hold a fundraiser in Los

Angeles. His fundraising consultant, Alexandra Kendrick, explained

defendant’s thinking: he “was hopeful of being able to raise money from

folks who supported the same type of ideals that he had of saving

Christians in the Middle East.” (5-ER-936.) “He had not been

successful” at tapping into this particular group of supporters in the

past, but defendant “was excited” at the prospect of having “a group of

folks who were willing to financially . . . thank him for the good work

that he had done.” (5-ER-941.) Defendant introduced Kendrick to

Baaklini, who had agreed to help him set up a fundraiser, and they

discussed holding an event in either Los Angeles or Detroit, eventually

settling on Los Angeles. (5-ER-846–847.) Baaklini then referred

Kendrick to Ayoub — “a leader for the Lebanese community” in Los

Angeles — “and asked him to do the fundraiser.” (5-ER-849.)

     The fundraiser was held in Glendale in February 2016 and was a

success, raising $36,000 for defendant’s re-election campaign. (5-ER-

966–977.) That placed the event among the top four or five of the

40 fundraisers defendant held that year. (5-ER-976.) Defendant was

“very happy” about the haul. (5-ER-967–969.) But behind the scenes,



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there were problems. Kendrick had been unable to get a list of names of

the people attending and donating to defendant’s campaign, which she

(on behalf of defendant) was required to do under federal election law.

(5-ER-952.) Ayoub promised her in the days leading up to the event

that “[w]e have so much commitment, about $22,000,” but he was

unable to respond to her repeated requests for the names of the donor-

attendees. (5-ER-959.) He texted her: “It is hard to give you the

names.” (Id.) According to Kendrick, this was “not normal.” (5-ER-

958.) And it was a problem for her: in addition to names, defendant’s

campaign was required to report the address, occupation, and employer

of each donor, and part of Kendrick’s job was ensuring — on defendant’s

behalf — that donors were donating their own money (as opposed to

being a “conduit” for someone else) and that no money was coming from

a prohibited source like a “foreign national.” (5-ER-952, 956; see also 6-

ER-1118 (defense cross-examination) (defining “conduit contributions”

as “taking someone else’s money and forwarding it to a politician”).)

     Kendrick expressed her concerns to defendant: “I told Mr.

Fortenberry that I was not able to get an RSVP list. . . . and because of

that, I did not know, you know, where this money was coming from.”



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(5-ER-960.) But defendant moved forward with the event. (5-ER-961.)

Though a donation form “was part of the invitation,” Kendrick had not

received completed forms from the host, Ayoub, or from Baaklini, who

was still “peripherally” involved. (5-ER-955, 963–65.) So she “set up a

table with the donation forms” at the event itself, hoping “to gather

folks’ checks as they came in and get them to fill out that donation

form.” (5-ER-963.) That plan failed too. Somewhere between 30 and

40 people showed up to the event, and “many of the donors brought in

checks from other people” — “like a brother’s check or their sister’s

check or their, like, friend’s check.” (5-ER-965.) Kendrick was unable

to get “complete information,” such as occupations and employers, for

some of the donors. (Id.) And even after the event was over, Kendrick

was unable to get this information from Ayoub, so she “did quite a bit of

Googling” in an attempt to fulfill defendant’s reporting obligations. (5-

ER-973.) Defendant knew about her efforts. (5-ER-974.)

     As it turned out, almost all of the money came from one person,

with the individual “donors” as strawmen or conduits — and that one

person was Chagoury, who, as a foreign national, was not supposed to

be donating at all. Baaklini and Ayoub helped: a week or two before the



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fundraiser, Baaklini had received cash from Chagoury, and a couple

days later met Ayoub in Los Angeles and handed him a brown bag with

$30,000 in it. (5-ER-1059, 5-ER-850–851.) Ayoub then distributed this

cash among the various people who were going to attend defendant’s

fundraiser. (5-ER-1070; see also 5-ER-932.) Baaklini had done this for

Chagoury three times before, for three other politicians, to the tune of

about $120,000. (5-ER-1061–1062.)

     Defendant had his suspicions, too. The following week, he met

Baaklini in person in Washington, D.C. They didn’t talk for long, but

defendant asked Baaklini “if there’s anything wrong with the

fundraiser.” (5-ER-861.) Baaklini responded that “nothing was wrong”

and then inquired why defendant had posed the question. (5-ER-863.)

“[B]ecause,” defendant replied, “the money came from . . . one family.”

(Id.) After that, defendant dropped the issue. (5-ER-863–864.)

     2.    Defendant learns that the money at the Los Angeles
           fundraiser came from Chagoury

     A couple months later, in August 2016, FBI agents interviewed

Ayoub at his home in Los Angeles and later at the U.S. Attorney’s

Office downtown. (5-ER-1087–1091.) The FBI was initially focused on

Ayoub’s donations to other political figures, but during the second


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interview, he admitted what he had done for defendant’s Los Angeles

fundraiser and began cooperating with the investigation. (Id.; see also

4-ER-557–566.) A few months after that, in February 2017, the Los

Angeles–based FBI agents also talked to Baaklini — who had supplied

Ayoub with Chagoury’s cash for defendant’s fundraiser — and he, too,

confessed. (5-ER-864–867; see also 5-ER-904–905, 925–926 (noting

Baaklini was interviewed by the same case agent from Los Angeles); 4-

ER-582–584 (case agent’s testimony).) Neither Ayoub nor Baaklini told

defendant they were talking to the FBI.

     The investigation continued, focusing not only on Chagoury — the

“financier behind all of it” (4-ER-543) — but also on the various political

figures who had received his conduit campaign contributions. (4-ER-

587–595 (recounting the course of the investigation in later 2016 and

2017); 5-ER-1089 (questioning Ayoub about other political figures); 4-

ER-585–586 (questioning Baaklini about other political figures); 6-ER-

1382–1383 (factual stipulation about the investigation); CR 18 at 3 n.4

& app. (citing or attaching cooperation agreements for Baaklini,

Chagoury, Chagoury’s “right-hand man” and “consigliere,” Joseph




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Arsan (4-ER-589; 6-ER-1225), and former Transportation Secretary Ray

LaHood).)

     A year later, in March 2018, defendant texted Ayoub: “Doctor, I

hope you are well. Would you have time for a quick call soon? Thanks,

Jeff.” (5-ER-1093.) Defendant’s message “came out of the blue,” and

Ayoub was surprised — it was “unique” for him to receive a text

message from a Congressmember proposing to chat. (5-ER-1094.)

Ayoub consulted with the FBI and did not respond to defendant until

nine days later: “Sorry, Congressman. I was overseas for a conference.

I would like very much to talk to you. What day and time is good for

you after Easter, Pacific time?” (5-ER-1095–1096.) Following some

additional back-and-forth, the two were able to talk on the phone in

April 2018. (5-ER-1098.) The FBI case agent sat next to Ayoub during

the call, which Ayoub put on speakerphone; the plan was to let

defendant talk and to “[s]ee what he wanted.” (4-ER-601–602; 5-ER-

1098.)

     Defendant wanted another fundraiser. He asked how Ayoub was

doing, asked about his recent travel, and asked about “the community

back in L.A.” — referring to the “American Lebanese community and



                                   10
the church community,” some of whose members had attended

defendant’s 2016 Los Angeles fundraiser. (5-ER-1101.) Then,

defendant asked if Ayoub could help him set up another one: “Would

there be an opportunity to come back and visit with the community

again?” “Is that a possibility? Could you consider that?” “Would that be

alright?” (5-ER-1102–1103.)

     Ayoub worked with the investigating FBI agents to plan a follow-

up call with defendant and to determine what to say on that call. The

agents (and the local U.S. Attorney’s Office) were continuing to

investigate Chagoury and various political figures he was funneling

money to, and they were “interest[ed] in finding out where the

defendant fit in [their] investigation.” (4-ER-607.) So they decided to

use Ayoub to “inform Congressman Fortenberry that his campaign

received an illegal campaign contribution” at the 2016 Los Angeles

fundraiser, and to gauge “his reaction to that” information. (4-ER-608–

609; see also 4-ER-612, 641.)

     The follow-up call happened on June 4, 2018 and lasted about ten

minutes. (4-ER-613–627; 9-ER-2059–2065 (transcript of the call).)

Ayoub told defendant that he and his friends would likely be able to



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hold another fundraiser but that they would not be able to donate as

much as they had in 2016, when Toufic Baaklini had supplied “thirty-

thousand dollar[s] in cash to give to your campaign.” (9-ER-2062.)

Defendant’s reaction to that information was telling. He stumbled over

his words but forged ahead. “Uh, yeah, well, it’s yeah, there’s no

problem,” he said. (Id.) “I was just hopeful that, uh, we could, uh, oh,

just have, uh some continuation of the, uh, fine generosity that you

have given and I, I, just really appreciate it. It’s just, very hard to raise

money.” (Id.) Moments later, Ayoub again referenced the money from

the 2016 fundraiser in Los Angeles, noting that Baaklini had told him

that “probably the money did come from Gilbert Chagoury.” (9-ER-

2062–2063.) Defendant again reacted without concern or surprise,

launching, instead, into a discussion of the “movement in Congress”

spurred by recent lobbying efforts on behalf of religious minorities

abroad. (9-ER-2063.) He then returned to the subject of a new

fundraiser, proposing “a small dinner.” (Id.)

     Ayoub agreed to that proposal and referred to Baaklini and

Chagoury yet again: “maybe perhaps, you know, Toufic can ask Gilbert

to give us some money to donate to you.” (9-ER-2063–2064.) Defendant



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once again soldiered on: “Mhmm, yes, well, I, I can certainly discuss

that with him um, to, to, help, uh, you know gather an event for, the

community or, in the meanwhile people want to contribute individually

that would be great, so should I just ask him about that?” (9-ER-2064.)

Ayoub responded, “it is up to you,” but then reiterated that Chagoury

had contributed funds in 2016: “Last time, you know, he did help me

with thirty thousand dollar[s] cash, you know.” (Id.) For a fourth time,

defendant asked no questions and expressed no concern.

     Later that same day, defendant texted Baaklini and asked to meet

in person. (4-ER-634; 5-ER-903–904; 6-ER-1388.) He also called his

election-law attorney, though he did not tell her anything about

receiving $30,000 in conduit contributions from a foreign national. (4-

ER-773–775.) Nor did he make any corrections to any of his 2016

campaign-finance filings. (4-ER-733–734.) And defendant never

followed up with Ayoub about another Los Angeles fundraiser. (6-ER-

1389.)

     3.    Defendant lies to the Los Angeles FBI agents
           investigating Chagoury

     About nine months later, in March 2019, two of the FBI agents on

the Chagoury investigation travelled from Los Angeles to Lincoln,


                                   13
Nebraska, to interview defendant at his home. (6-ER-1231; see also 4-

ER-652; 9-ER-2066 (listing the agents from Los Angeles).) They were

looking for answers to a number of questions, including when defendant

“first learn[ed] that his campaign had received illegal conduit”

contributions, whether defendant “had received any illegal campaign

contributions from any other sources,” and whether he “did anything or

promised to do anything in exchange for those contributions.” (6-ER-

1230.) They also wanted to learn more about defendant’s relationships

with Chagoury, Baaklini, and Ayoub. (Id.)

     The agents first visited defendant’s house in the afternoon, but

defendant wasn’t home, so they came back later that evening. (6-ER-

1233; cf. AOB 10 (“nighttime interview”).) Defendant had called two

local police officers to his house; the local officers checked the FBI

agents’ credentials and, at defendant’s request, stayed for the interview.

(6-ER-1240.) The FBI agents asked defendant a series of questions

about his 2016 Los Angeles fundraiser. (9-ER-2067–2072 (interview

transcript).) Defendant pretended to be unsure who Ayoub was and

quickly became defensive. (9-ER-2068–2069.) Nonetheless, he

continued answering the agents’ questions, and then decided — even



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after being told “that lying to the FBI is illegal” (6-ER-1243) — to lie to

them, falsely denying that he knew about the illegal conduit

contributions at his 2016 Los Angeles fundraiser. (2-ER-188–189

(verdict form).)

     Following this interview, defendant obtained counsel (a former

congressman from South Carolina), and through counsel contacted the

FBI, which referred them to the U.S. Attorney’s Office for the Central

District of California, which was running the investigation. (6-ER-1392,

1616.) Defendant’s counsel “reach[ed] out” to the U.S. Attorney’s Office

in Los Angeles (7-ER-1617–1618), and they set up a July 2019 meeting

in Washington, D.C., as the most mutually convenient place among

“South Carolina, California, Nebraska, [and] Washington.” (7-ER-

1629.) Defendant lied in that meeting, too, denying that he knew about

the $30,000 illicit contribution. (9-ER-2087–2088 (interview transcript);

2-ER-190–191 (verdict form).) Defendant claimed it would have been

“horrifying” if Ayoub had told him that Baaklini provided $30,000 in

cash for defendant’s campaign. (9-ER-2088.) Defendant did not know

that the FBI had a recording of Ayoub telling him just that, to which

defendant had expressed no horror.



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     4.    Defendant is prosecuted and convicted

     Defendant was charged with one count of scheming to falsify or

conceal material facts, in violation of 18 U.S.C. § 1001(a)(1), and two

counts of making material false statements to federal agents, in

violation of 18 U.S.C. § 1001(a)(2). The scheme count (Count 1) covered

defendant’s conduct between June 2018 and July 2019; the false-

statement counts (Counts 2 and 3) covered the March and July 2019

interviews, respectively. He was convicted on all three counts. (1-ER-2

(judgment); 2-ER-197–202 (indictment).)

     Before trial, defendant moved to dismiss the indictment on the

ground that venue was improper in the Central District of California.

(CR 14.) The district court rejected defendant’s venue challenge in a

written opinion, concluding that venue is proper for an 18 U.S.C. § 1001

charge in both the district where the false statement is originally made

and in the district where the false statement was directed, following the

decisions of the Second, Fourth, and Seventh Circuits. (1-ER-112–118.)

     At trial, after hearing all the evidence, the jury found on a special-

verdict form that defendant’s “congressional campaign had received

illicit contributions at the Los Angeles Fundraiser in 2016,” and that



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Baaklini “had provided $30,000” in cash to Ayoub “to contribute to

[defendant’s] congressional campaign at the Los Angeles fundraiser in

2016.” (2-ER-186 (verdict form for Count 1).) The jury further found

that defendant knew these facts, that they were material, and that

defendant “knowingly and willfully us[ed] a trick, scheme, or device to

falsify, conceal, or cover [them] up.” (Id.)

     Specifically, this is what the jury found defendant lied about in

the first (March 2019) interview (2-ER-188):




     And this is what the jury found defendant lied about in the second

(July 2019) interview (2-ER-190):




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     In its instructions to the jury, the district court defined

“materiality” based on the Supreme Court’s decision in United States v.

Gaudin, 515 U.S. 506, 509 (1995), and this Court’s Model Jury

Instruction 24.10 (citing cases):

     [The statement] had a natural tendency to influence or was
     capable of influencing the decisions or activities of a
     Government agency. The false statement need not have
     actually influenced the agency, and the agency need not rely
     on the information, in fact, for it to be material.

(8-ER-1927, 1928 (oral instructions); see also 1-ER-14, 15 (identical

written instructions).) The district court declined to give an additional

materiality instruction that defendant proposed:

     To be material, a false statement must be capable of
     influencing a then-existing investigation or decision. A false
     statement is not material merely because it causes the
     government to investigate the veracity (truth or falsehood) of
     the statement itself.




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(1-ER-106.) As the government pointed out, defendant’s proposed

addition was “misleading,” unnecessary, and unsupported by precedent.

(1-ER-107.) After hearing defendant’s argument (1-ER-32–33), the

district court declined to give the additional instruction on the ground

that it was not “an accurate statement of the law” (1-ER-34).

     The jury was also instructed, over defendant’s objection (1-ER-71–

72), that defendant’s scheme and false statements must have been

“capable of having an effect or did have an effect within the Central

District of California.” (8-ER-1930 (oral); see also 1-ER-16 (written); 2-

ER-189, 191 (verdict form).) As the district court explained, “the act of

making a materially false statement occurs not only where the

statement is made, but also where it is directed.” (1-ER-117.)

     Defendant now appeals, challenging the district court’s refusal to

give his additional materiality instruction and the district court’s denial

of his motion to dismiss based on venue. (AOB 1, 16–21.)2




     2 The government addresses defendant’s arguments in this order

because, as the district court noted, materiality is relevant to the venue
question. (1-ER-116.)



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                                    IV

                     SUMMARY OF ARGUMENT

     A. The jury was properly instructed on the definition of

materiality, which requires that a false statement have “a natural

tendency to influence, or be capable of influencing, the decision of the

decisionmaking body to which it was addressed.” United States v.

Gaudin, 515 U.S. 506, 509 (1995) (cleaned up). There is no exception

for lying to investigators, even when the investigators “disbelieve[] [the]

falsehoods.” Brogan v. United States, 522 U.S. 398, 402 (1998). The

question is whether the statement is one that, if believed, would have a

tendency to affect the government’s decisionmaking. Defendant does

not dispute any of this. Instead, he argues that the district court was

required to give — in addition to this correct, sufficient definition of

materiality — an ad hoc instruction, which inaccurately stated that

Section 1001 requires a “then-existing investigation” and unnecessarily

and confusingly stated that a false statement is not material just

because the government investigates it. The district court was not

required to give this additional instruction.




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     B. Defendant was properly charged and convicted in the Central

District of California. The essential conduct prohibited by 18 U.S.C.

§ 1001 is making a false statement that is material to a government

decisionmaker — which, as the district court explained, “requires

consideration of both the statement and its potential effect.” (1-ER-

116.) The potential effects of defendant’s false statements were in the

Central District of California, because defendant’s lies “were directed at

federal investigative efforts occurring” there. (1-ER-117.)

     The district court’s conclusion was consistent with longstanding

venue principles, as well as the decisions of three courts of appeals. As

Congress provided when it enacted 18 U.S.C. § 3237, “the locality of a

crime” that spans multiple districts “extend[s] over the whole area

through which force propelled by an offender operates.” United States

v. Johnson, 323 U.S. 273, 275 (1944). And it is well established that

that venue for a criminal communication is proper in both the sending

and receiving districts. That rule applies even when a false

communication is first received in the sending district and then relayed

to the receiving district, as this Court held in United States v. Angotti,

105 F.3d 539, 541–43 (1997). Consistent with Angotti, three courts of



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appeals have held — in cases involving false statements to federal

investigators, as here — that prosecution under 18 U.S.C. § 1001 is

appropriate in the district of investigation, even if the lies were told in

person to visiting agents in another district. See United States v.

Coplan, 703 F.3d 46, 78–79 (2d Cir. 2012); United States v. Oceanpro

Industries, 674 F.3d 323, 329 (4th Cir. 2012); United States v. Ringer,

300 F.3d 788, 791–92 (7th Cir. 2002). Venue was proper in this case.

                                       V

                                ARGUMENT

A.      The Jury was Properly Instructed on the Definition of
        Materiality

        The district court did not abuse its discretion in declining to give

defendant’s additional, incorrect materiality instruction. (1-ER-34,

106.)

        1.   Standard of review and district court’s discretion to
             formulate jury instructions

        Whether to give a jury instruction and how to formulate the

instruction are reviewed for abuse of discretion. United States v.

Heredia, 483 F.3d 913, 921 (9th Cir. 2007) (en banc).




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     A proposed instruction must be “supported by law and ha[ve]

foundation in the evidence.” Heredia, 483 F.3d at 922. Even then,

however, a defendant is “not entitled to the instructions of his choice.”

United States v. Liew, 856 F.3d 585, 598 (9th Cir. 2017). “If the

instructions fairly and adequately cover the issues presented, the

district court is given substantial latitude in tailoring jury instructions.”

United States v. Peppers, 697 F.3d 1217, 1220 (9th Cir. 2012) (internal

quotation marks omitted).

     Thus, to show that a district court abused its discretion by

refusing to give an instruction, a defendant must establish three things:

(1) that his proposed instruction was legally correct (“supported by

law”); (2) that it had “some foundation” in the record; and (3) that it was

not “adequately encompassed” by another instruction. Liew, 856 F.3d

at 598. Even if a defendant establishes these, this Court can affirm “on

any ground supported in the record,” United States v. Job, 871 F.3d 852,

860 (9th Cir. 2017), and will not reverse if “the error was harmless,”

United States v. Castillo-Mendez, 868 F.3d 830, 835 (9th Cir. 2017).




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     2.    Defendant’s additional proposed instruction was
           wrong and unnecessary

     In this case, as in Gaudin, “[t]he parties . . . agree on the

definition of ‘materiality’: The statement must have ‘a natural tendency

to influence, or be capable of influencing, the decision of the

decisionmaking body to which it was addressed.’” 515 U.S. at 509

(quoting Kungys v. United States, 485 U.S. 759, 770 (1988), alteration

omitted). (See also AOB 30, 43 (quoting Gaudin).) Put more simply, the

government must establish “why the requested information was

important.” Gaudin, 515 U.S. at 508. And as defendant concedes,

“materiality does not require any actual effect on governmental

decisionmaking.” (AOB 36.) “[P]ropensity to influence is enough.”

United States v. King, 735 F.3d 1098, 1108 (9th Cir. 2013). Accordingly,

the Supreme Court has rejected the argument that a “disbelieved

falsehood” cannot be material, explaining that what matters is the “the

possibility (as opposed to the certainty) of perversion” of a “govern-

mental function,” such as “an investigation.” Brogan, 522 U.S. at 402.

     The jury was so instructed. (See 8-ER-1927, 1928; 1-ER-14, 15.)

The questions, then, are whether defendant’s proposed instruction was

correct and necessary. The answer to both is no.


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     The first sentence of defendant’s instruction was incorrect. Again,

this was defendant’s proposed instruction:

     To be material, a false statement must be capable of
     influencing a then-existing investigation or decision. A false
     statement is not material merely because it causes the
     government to investigate the veracity (truth or falsehood) of
     the statement itself.

(1-ER-106.) On appeal, defendant does not even attempt to salvage the

“then-existing investigation or decision” requirement that he argued for

below. He avoids mentioning it at all. (See AOB 42–51; see also AOB

15–16 (quoting only the second sentence of his proposed instruction).)

That is understandable, since no such requirement exists. Walking into

an FBI office and “falsely accus[ing] a third party of a crime,” for

example, could violate Section 1001 even if there were no then-existing

investigation of the person falsely accused. United States v. Medina de

Perez, 799 F.2d 540, 543 (9th Cir. 1986) (citing United States v. Rodgers,

466 U.S. 475, 476 (1984)). Indeed, myriad false statements will precede

— and often precipitate — investigation, including lies designed to

obtain governmental benefits or to avoid tax payments. See id. (citing

cases). And the concept of influencing a “then-existing . . . decision” (1-

ER-106) makes no sense at all.




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     A party is “not entitled to an instruction that misstates the law.”

United States v. George, 420 F.3d 991, 1000 (9th Cir. 2005); see also

United States v. Hicks, 217 F.3d 1038, 1045 (9th Cir. 2000) (rejecting

proffered instructions because, among other things, they “were not

legally accurate”). The fact that defendant’s proposed instruction was

wrong, and that neither Section 1001 nor any background definition of

“materiality” contains a pending-proceeding requirement, is a sufficient

basis to reject defendant’s contention that the district court was

required to give his instruction. See, e.g., United States v. Ripinsky, 109

F.3d 1436, 1441 (9th Cir. 1997) (“partially incorrect” instruction could

be rejected, finding no plain error), overruled on other grounds

by United States v. Sablan, 114 F.3d 913, 916 (9th Cir. 1997) (en banc);

United States v. Cervantes, 542 F.2d 773, 778 (9th Cir. 1976) (“The first

sentence of the foregoing proposed instructions is not the law of this

circuit. The second paragraph is not the law of this circuit. Either

reason alone justified the refusal of the instruction, in its entirety, and

the district judge was required to reject this proposed instruction.”).

     Other circuits enforce the same rule. District courts are “under no

obligation to tinker with [a] flawed proposed instruction until it [is]



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legally acceptable,” Rogers v. Ingersoll-Rand Co., 144 F.3d 841, 845

(D.C. Cir. 1998), and “for rather obvious reasons,” a defendant cannot

deputize the judge “to edit a proposed instruction to delete the bad and

preserve the good,” United States v. Oreto, 37 F.3d 739, 749 (1st Cir.

1994). See also 9C Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 2552 (3d ed.) (general rule in civil cases is that

“trial judge need not give a requested instruction if it is inaccurate or

deficient in any respect”). Because defendant’s proposed instruction

was wrong, the district court did not abuse its discretion in rejecting it.

     But in any event, the second part of defendant’s proposed

instruction — “[a] false statement is not material merely because it

causes the government to investigate the veracity (truth or falsehood) of

the statement itself” — was unsupported, unnecessary, and either

incorrect or at least confusing. The district court’s definition of

materiality came straight from Gaudin and is undisputedly correct.

Defendant’s proposed addition appears in no case or rule. And nowhere

below did defendant cite the authorities he now relies on, none of which

contain defendant’s proposed language anyway. (See 1-ER-106 (citing

only Gaudin, which says nothing similar); cf. 8-ER-1765–1766 (“We



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cited Gaudin. I think it does flow from that case, but . . . I have found

no case dead on point, and I would have cited one if I had one.”).) A

district court has discretion to decline an admittedly unsupported

addition to a well-established, correct, and legally sufficient instruction.

Indeed, “[w]here the instruction actually given was legally sufficient, a

defendant cannot successfully contend that declining to use his specific

formulation was an abuse of discretion.” United States v. Shipsey, 363

F.3d 962, 967 (9th Cir. 2004) (good-faith instruction), abrogated on other

grounds by Shaw v. United States, 580 U.S. 63, 72 (2016).

     Furthermore, defendant’s primary legal argument in support of

his supplemental instruction does not fit the facts of this case. He

claims that the government cannot bootstrap materiality by arguing an

unimportant lie caused the government to start investigating the lie

itself, rendering the lie important after-the-fact. (See AOB 2 (labelling

this a “circular theory”); see also AOB 43–45 (citing United States v.

Johnson, 19 F.4th 248, 260–61 (3d Cir. 2021); United States v. Litvak,

808 F.3d 160, 173–74 (2015); United States v. Camick, 796 F.3d 1206,

1218–19 (10th Cir. 2015).) It is true that because materiality is

evaluated “at the time the statement was made” (AOB 41), an



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unimportant statement cannot later become material because federal

agents decide they want to investigate the person who made it. See

Johnson, 19 F.4th at 260 (noting that such a rule would “render the

materiality element meaningless, and the scope of § 1001 absurd”). But

a statement that is important when made — e.g., “[my] wife ha[s] been

kidnap[p]ed,” Rodgers, 466 U.S. at 477, or accusing a third-party of a

crime, Medina de Perez, 799 F.2d at 543, or “I didn’t know anything

about Gilbert Chagoury funneling conduit contributions to American

politicians” — does not become immaterial “because it causes the

government to investigate the veracity of the statement itself.” (1-ER-

106; see also 8-ER-1961 (describing the significance of the

investigation).) Thus, the second part of defendant’s proposed

instruction was either incorrect or at least inapplicable and confusing.

     Moreover, there was no bootstrapping in this case, nor could there

have been. Defendant’s lies about his 2016 fundraiser and what he

knew about it were important when they were told, not because they

subsequently prompted “an investigation into the truth of the

statement.” (AOB 44.) He did not lie “about what [he] ate for

breakfast” or his “true hair color,” leading agents to decide he was



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dishonest and start investigating him. (8-ER-1961 (government’s

closing argument, offering these examples of immaterial statements).)

     Rather, there is no question that there was a pending

investigation here. Three federal agents testified at length about that

investigation. (3-ER-494–4-ER-764; 6-ER-1162–1342; 6-ER-1373–7-ER-

1543.) The parties entered a stipulation about “the investigation.” (6-

ER-1382; see also AOB 7 (discussing “[t]hat investigation”).) Defense

counsel talked about the investigation in his closing argument. (8-ER-

2003 (“The investigation in this case is operation Titan’s Grip. That’s

an investigation into election interference.”).) And the agents testified

about what information they were looking for when they interviewed

defendant. (6-ER-1230 (noting that the FBI was investigating, inter

alia, whether defendant knew about the illegal conduit contributions at

the time they were made, and whether he was agreeing to do anything

in exchange for them); see also 8-ER-1962–1963 (government’s closing).)

In the context of such an investigation, a false “exculpatory no,” Brogan,

522 U.S. at 401, was especially significant. (See also 4-ER-612 (noting

the significance of defendant’s reaction in the context of his call with

Ayoub).) The agents asked defendant whether he knew his campaign



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received illegal contributions in the context of a public-corruption

investigation that had begun years earlier — there was no boot-

strapping, or anything close.

     Finally, even if defendant’s proposed instruction had been legally

sound and factually pertinent, it still would have been unnecessary,

rendering any error in rejecting it harmless. The district court’s correct

Gaudin instruction allowed defendant to argue his materiality theory,

and his materiality argument before the jury was cursory. (See 8-ER-

2003–9-ER-2005.) Defendant rested his case on intent, arguing that the

government had failed to prove beyond a reasonable doubt that he

understood what Ayoub was telling him during their June 2018 phone

call and did not think much about it afterwards. (8-ER-1980–1993.)

The jury found otherwise. Defendant’s incorrect and misplaced theory

of materiality provides no basis to overturn that verdict.

B.   Defendant Was Properly Charged and Convicted in the
     Central District of California

     The district court properly rejected defendant’s venue challenge.

     1.    Standard of review

     The Constitution requires criminal trials to “be held in the State

where the said Crimes shall have been committed.” U.S. Const., art.


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III, § 2, cl. 3; see also amend. VI (jury vicinage); Williams v. Fla., 399

U.S. 78, 93 & n.35 (1970). “[V]enue is not an element of the offense” but

a “question of fact that the government must prove by a preponderance

of the evidence.” United States v. Moran-Garcia, 966 F.3d 966, 969 (9th

Cir. 2020). Legal questions underlying venue are reviewed de novo, but

factual questions are “for the jury, not the court” and thus reviewable

only to determine whether the evidence was sufficient to persuade any

rational juror under the preponderance standard. United States v.

Lukashov, 694 F.3d 1107, 1119–20 (9th Cir. 2012); see also United

States v. Nevils, 598 F.3d 1158, 1164 (9th Cir. 2010) (en banc)

(articulating sufficiency-of-the-evidence standard of review). Erroneous

jury instructions on venue are harmless if a correctly instructed jury

necessarily would have concluded that venue was established by a

preponderance of the evidence. Moran-Garcia, 966 F.3d at 969–70;

Lukashov, 694 F.3d at 1120; United States v. Casch, 448 F.3d 1115,

1118 (9th Cir. 2006). And, as always, the particular wording of a jury

instruction is reviewed only for abuse of discretion. Peppers, 697 F.3d

at 1220.




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     2.    The district court correctly rejected defendant’s venue
           challenge, consistent with the precedent of this Court
           and every other court of appeals to address the issue

     The district court correctly rejected defendant’s pretrial venue

challenge. First, as the district court explained, the essential conduct

proscribed by 18 U.S.C. § 1001 is not only a false statement but a

material one, meaning it affected or had the potential to affect a

governmental decisionmaker — including in another district. Second,

the district court’s conclusion is consistent with longstanding venue

principles governing criminal acts that span multiple districts,

including communications that travel from one district to another, as

this Court explained in United States v. Angotti, 105 F.3d 539, 541–43

(1997). 3 And third, three other courts of appeals — the Second, Fourth,

and Seventh Circuits — have held in cases just like this one that an 18

U.S.C. § 1001 prosecution is proper in the district of investigation, even

if the false statements were originally made in person to visiting

investigators in another district. See United States v. Coplan, 703 F.3d



     3 The money-laundering holding in Angotti was overruled by

United States v. Cabrales, 524 U.S. 1, 5 (1998), as discussed below, but
the remainder of the decision remains binding precedent.



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46, 78–79 (2d Cir. 2012); United States v. Oceanpro Industries, 674 F.3d

323, 329 (4th Cir. 2012); United States v. Ringer, 300 F.3d 788, 791–92

(7th Cir. 2002).

           a.      The district court correctly ruled that the
                   materiality element of a false-statements charge
                   allows prosecution in the district of investigation

     The district court, in its order below, correctly held that venue for

defendant’s crimes was proper in the Central District of California. (See

1-ER-112–118.)

     The general test for determining where a crime takes place — the

“locus delicti” — is based on “the nature of the crime alleged and the

location of the act or acts constituting it.” (1-ER-113 (quoting United

States v. Cabrales, 524 U.S. 1, 6–7 (1998)).) See also Cabrales, 524 U.S.

at 6 (referring to this test as a “general guide”). As the district court

explained, “[i]n performing this inquiry, a court must initially identify

the conduct constituting the offense (the nature of the crime) and then

discern the location of the commission of the criminal acts.” (1-ER-113

(quoting United States v. Rodriguez-Moreno, 526 U.S. 275, 279 (1999)).)

The inquiry turns on where the “essential conduct” elements of the

crime occurred, not necessarily where any “circumstance element” or



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“anterior criminal conduct” occurred. (1-ER-113, 115 (quoting

Rodriguez-Moreno, 526 U.S. at 280 n.4).) So, for example, a defendant

who “engaged in the proscribed conduct of money laundering (which

occurred in Florida)” but “not drug trafficking (which occurred in

Missouri)” could not be prosecuted in Missouri, even though the funds

were obtained — by someone else — from drug trafficking in Missouri.

(1-ER-115 (summarizing Cabrales).) But a defendant who “used a gun

during a kidnapping” could be prosecuted in any district where the

kidnapping occurred, even if he had not used the gun there, because

both the gun-using and the kidnapping were essential-conduct elements

prohibited by 18 U.S.C. § 924(c). (1-ER-115 (summarizing Rodriguez-

Moreno).) As the district court put it, the “distinction drawn is clear:

the crime, for purposes of venue, is defined by the conduct Congress

sought to proscribe, and not by ‘the anterior criminal conduct’ that

formed the ‘circumstance’ giving rise to the prohibited conduct.” (1-ER-

115.)

        Applying these principles to 18 U.S.C. § 1001, the district court

correctly concluded that “the act of making a materially false statement

occurs not only where the statement is made, but also where it is



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directed.” (1-ER-117.) The court rejected defendant’s contrary

argument, explaining that “an exclusive focus on the location where the

false statement was made without regard to where it was directed gives

short shrift to the prohibited conduct as contemplated by the statute.”

(1-ER-116.) The materiality element of Section 1001 “requires

consideration of both the statement and its potential effect.” (Id.)

“Congress did not criminalize the act of making a false statement or the

act of falsifying or concealing a fact.” (1-ER-114.) “Absent materiality,

a false statement is not conduct proscribed by law.” (1-ER-117.)

Accordingly, the district court concluded that “materiality is not a mere

circumstance of the offense — it is the essence of the criminal conduct.”

(Id.) The district court further noted that while this Court “has not

addressed the issue of venue in the context of Section 1001(a),” its

holding was “consistent with the conclusion reached by a majority of

courts that have considered the question,” including Coplan, Oceanpro

Industries, and Ringer, among others. (Id.)

     The district court was right. Defendant’s complaint that the

district court’s analysis improperly “shifted the focus of the venue

analysis from the defendant’s conduct” to “the conduct’s potential



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effects” simply fails to appreciate how the essential-conduct test works.

(AOB 18.) Conduct is often defined by its effects. Shooting someone, for

example, requires both a shot and an impact: defendant’s exclusive

focus on the former would lead to the counterintuitive proposition that a

cross-border shooting could not be prosecuted in the district where the

injury occurred. Courts have long held otherwise. See, e.g., Simpson v.

State, 17 S.E. 984, 985–86 (Ga. 1893) (defendant in South Carolina who

shoots a victim in Georgia can be prosecuted in Georgia). Indeed, by

statute, venue for federal murder and manslaughter prosecutions now

exists “where the injury was inflicted,” not where the action occasioning

the injury was initiated, 18 U.S.C. § 3236, and, at common law, many

crimes could be prosecuted wherever the defendant’s act “continued to

operate” or resulted in “injurious effect,” Massachusetts v. Macloon, 101

Mass. 1, 5–8, 10 (1869). In some cases, the Supreme Court has even

held that venue is proper only in the district where the harm or

intended harm occurred. See, e.g., Johnston v. United States, 351 U.S.

215, 220 (1956) (noting “the general rule that where the crime charged

is a failure to do a legally required act, the place fixed for its

performance fixes the situs of the crime”); see also United States v.



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Overaker, 766 F.2d 1326, 1327 (9th Cir. 1985) (venue lay in Arizona

where inmate was released in Minnesota and arrested in Missouri after

failing to report to prison in Arizona).

     There is therefore nothing anomalous about prosecuting a false

statement based on “[t]he location of the government action that the

statement could potentially influence.” (AOB 30.) As the First Circuit

noted, “[w]hen materiality is a critical component of the statutory

definition, it makes perfect sense to consider the crime as continuing

into the district in which the effects of the false statement are felt.”

United States v. Salinas, 373 F.3d 161, 166–67 (1st Cir. 2004).

     Defendant is incorrect to argue that the place where the crime

occurred — the locus delicti, see Black’s Law Dictionary (11th ed. 2019)

(“place of the wrong”) — is categorically different from the location of

“the crime’s potential effects.” (AOB 31.) It depends on the wrong. As

the district court explained, “the locus delicti ‘must be determined from

the nature of the crime alleged and the location of the act or acts

constituting it.’” (1-ER-113 (quoting Cabrales, 524 U.S. at 6–7); see also

Black’s Law Dictionary, supra (similar, quoting United States v.

Clinton, 574 F.2d 464 (9th Cir. 1978)). Taking defendant’s focus-only-



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on-the-offender argument seriously would run counter not just to the

reasoning of Rodriguez-Moreno but to its holding, too, since kidnapping

is also defined in part by its effect on the victim. See United States v.

Garcia, 854 F.2d 340, 343 (9th Cir. 1988) (discussing the unlawful-

restraint element).

     Defendant also misconstrues Rodriguez-Moreno when he contends

that its discussion of “essential conduct elements” restricts venue in a

Section 1001 prosecution to where the material false statement was

“made,” because only that element “define[s] the defendant’s acts.”

(AOB 17, 27.) That is backwards. Rodriguez-Moreno used the phrase

“essential conduct elements” to expand venue, rejecting the lower

court’s “verb test” that restricted venue (in that case) to “us[ing] a

firearm” but not the underlying “crime of violence.” 526 U.S. at 280;

see also United States v. Palma-Ruedas, 121 F.3d 841, 864 (3d Cir.

1997) (Alito, J., dissenting in the decision below). Defendant attempts

to resurrect the verb test here. Although the materiality element in 18

U.S.C. § 1001 is not phrased in the form of a verb, it is — as the district

court explained — an “essential conduct element,” because it involves

defendant’s conduct (i.e., what he actually does) and requires someone



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to be on the receiving end of that conduct. The materiality element

necessarily “requires consideration of both the statement and its

potential effect.” (1-ER-116.) The district court therefore correctly

concluded that venue was proper in the district of investigation, where

the false statements were material. (1-ER-116–117.)

            b.    Venue was also proper because defendant’s false
                  communication continued into the Central
                  District of California, as Angotti holds

       Because the district court concluded that venue was proper based

on the “essential conduct elements” of 18 U.S.C. § 1001 (1-ER-114–115),

the court did not need to rely on the well-established rule that

communications can span districts or apply this Court’s holding in

Angotti, 105 F.3d at 542, involving a false-statements statute, 18 U.S.C.

§ 1014, that contains no materiality element, see United States v. Wells,

519 U.S. 482, 490–99 (1997). But the venue rule for communications,

applied in Angotti, is another reason the district court was correct, and

an alternate basis on which to affirm its decision. See Job, 871 F.3d at

860.

       Cabrales and Rodriguez-Moreno set forth a locus delicti test for

relatively recent, complex statutory offenses (money laundering and



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Section 924(c)), 4 but the longstanding background rule is that a

criminal communication between districts can be prosecuted in either

the sending or the receiving district. A defendant in Washington, D.C.,

for example, who extorts a victim in New York over the telephone,

commits his crime in New York. United States v. Stephenson, 895 F.2d

867, 874 (2d Cir. 1990). And in this case, venue would obviously be

proper if defendant’s interviews had been over the telephone, with the

agents in their offices in Los Angeles. Defendant accepts this

background principle. (AOB 38 (citing Stephenson and attempting to

distinguish “mail or telephone conversations” where “the speaker

directed his statements to a person located in a different jurisdiction”).)

     As the Supreme Court has explained, Congress can “provide that

the locality of a crime shall extend over the whole area through which

force propelled by an offender operates.” United States v. Johnson, 323

U.S. 273, 275 (1944). This “continuing offense” doctrine, id., applies to

crimes that “span space and time.” United States v. Corona, 34 F.3d

     4 See also, e.g., United States v. Auernheimer, 748 F.3d 525, 533

(3d Cir. 2014) (Computer Fraud and Abuse Act, 18 U.S.C. § 1030);
United States v. Lukashov, 694 F.3d at 1121 (aggravated sexual abuse
of a minor, 18 U.S.C. § 2241(c)).



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876, 879 (9th Cir. 1994). The doctrine is consistent with the rule that

“where a crime consists of distinct parts which have different localities

the whole may be tried where any part can be proved to have been

done.” Rodriguez-Moreno, 526 U.S. at 281 (quoting United States v.

Lombardo, 241 U.S. 73, 77 (1916)). In Johnson, as in Lombardo, the

Supreme Court limited venue on statutory grounds, but invited

Congress to “correct” any overly narrow venue rules “by legislation.”

Lombardo, 241 U.S. at 79.

     Congress accepted this invitation and enacted 18 U.S.C. § 3237,

expanding venue for “continuing offenses” to the constitutional limits

articulated by the Court. See Reviser’s Note to 18 U.S.C. § 3237(a)

(1948) (explaining that the statute was passed in response to the

Court’s decision in Johnson). Recently, this Court held en banc that the

second paragraph of § 3237(a) — applying to “any offense . . . involving

transportation in interstate or foreign commerce” — covers discrete

federal crimes (there, a slap in the face) committed at any point during

an airplane flight, such that venue is proper in the district where the

plane lands. United States v. Lozoya, 982 F.3d 648, 653 (9th Cir. 2020)

(en banc).



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     Defendant’s description of Section 3237 as a “special venue

statute” is therefore inapt. (AOB 37.) The purpose of Section 3237 was

to eliminate the need for “special venue provisions[,] except in cases

where Congress desires to restrict the prosecution of offenses to

particular districts.” Reviser’s Note, supra. It eliminated the

“restrictive approach” that defendant argues this Court should

take. (AOB 25–26 (citing only Johnson as supporting this approach).)

Under 18 U.S.C. § 3237, statutes defining crimes that span space or

time no longer need a special venue provision. This is a general rule of

construction to be applied across the criminal code, not a “special”

provision that needs to be invoked by a court. (AOB 37.)

     Contrary to the premise of defendant’s argument, there is no

“locus delicti test” or “analysis” (AOB 18, 27, 31, 33, 34, 37) that exists

separate apart from “the special venue statute for continuing criminal

offenses.” (AOB 37–38.) Locus delicti just means “place of the wrong”;

the government is not allowed to prosecute someone in a locus where

the crime was not “committed.” U.S. Const., art. III, § 2, cl. 3. But the

point of Section 3237 is that courts will not read congressional silence in

a particular criminal statute as an implicit limitation on venue when a



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crime’s commission spans multiple districts. (Contra AOB 36.) See

Johnson, 323 U.S. at 275; see also Travis v. United States, 364 U.S. 631,

636 (1961) (but for a jurisdictional limitation on the part of the federal

agency, venue for a false-mailing prosecution under 18 U.S.C. § 1001

could be “either at the sending or receiving end”).

     This Court applied that well-worn background rule in Angotti, a

false-statements prosecution under 18 U.S.C. § 1014. The defendant

there submitted a false loan application to a bank branch in the

Northern District of California, which reviewed and conditionally

approved the loan before relaying the application to the bank’s office in

the Central District of California for a final decision. See 105 F.3d at

541. This Court held that “venue was . . . proper in the Central District,

where the communication reached the audience whom it was intended

to influence, even though some of the criminal conduct occurred in the

Northern District, where the statements were submitted.” 105 F.3d at

542. Angotti thus treats false statements as continuing offenses

prosecutable not only in the district where the statement is made but

also in the district into which the statement is directed. See Johnson,




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323 U.S. at 275 (the locus of a crime can “extend over the whole area

through which force propelled by an offender operates”).

     Angotti is still binding precedent for false-statements

prosecutions. Contrary to defendant’s claims, this Court did not

effectively overrule Angotti in United States v. Marsh, 144 F.3d 1229

(9th Cir. 1998), nor did Cabrales or Rodriguez-Moreno disturb its

holding that a false communication begun in one district and relayed to

a second district where the target lender assesses loans takes place in

both districts. (See AOB 24–25, 39–40.)

     As discussed above — and as explained by the district court —

Cabrales and Rodriguez-Moreno did not involve communications at all.

Cabrales held that money laundering can be prosecuted only where the

money is laundered, not where the funds originally came from, unless

the money-launderer “acquired the funds in one district and

transported them into another” or conspired with someone in another

district. See 524 U.S. at 7–8 (citing Hyde v. United States, 225 U.S. 347

(1912), for the conspiracy proposition). And Rodriguez-Moreno held

that using a gun during a crime of violence can be prosecuted in any

district where the crime of violence occurred, because Congress



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“proscribed both the use of the firearm and the commission of acts that

constitute a violent crime.” 526 U.S. at 281. Indeed, the only one of

these decisions to restrict venue — Cabrales — reiterated the rule that

a criminal mailing from one district to another can be prosecuted

anywhere the communication travelled. See 524 U.S. at 9 (citing

Palliser v. United States, 136 U.S. 257, 266–68 (1890)). And the

Supreme Court’s discussion of the money-laundering offense charged in

that case supports the conclusion that a criminal can be prosecuted in

any district where the crime “move[s].” 524 U.S. at 9 (“The counts

before us portray her and the money she deposited and withdrew as

moving inside Florida only.”). Defendant was not prosecuted for money

laundering but for lying to investigators who were conducting a Central

District of California investigation into his illegal fundraising in the

Central District of California. That is why his lies were relayed to the

Central District and could be prosecuted there.

     Nor did Marsh overrule Angotti. 5 Marsh involved “[t]he filing of

baseless liens to harass government officials,” thereby “endeavoring to


     5 That would have been impossible. A three-judge panel cannot

overrule a preceding three-judge decision absent clearly irreconcilable
                                                         (continued . . . .)

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impede the IRS” in violation of 26 U.S.C. § 7212(a). 144 F.3d at 1234,

1241–42. The defendants filed the liens in Nevada and Washington but

were prosecuted in the Northern District of California — the location of

the IRS officers against whom the liens were filed. Id. at 1242. This

Court held that venue did not lie in the Northern District because

“endeavoring to impede the IRS is complete when the endeavor is

made.” Id. “No effect need be proved. The filing of the lien is the

crime.” Id. Marsh distinguished Angotti — and reaffirmed its venue

holding — by pointing out that the 18 U.S.C. § 1014 offense in Angotti

was “completed by the statement having effect.” Id. That same

distinction applies here. Defendant’s 18 U.S.C. § 1001 offense was

completed by his lies having an effect in the Central District of

California, where he was under investigation.

     The fact that a Section 1001 charge may be prosecuted even if the

statement has no “actual effect on the government” (AOB 32) does not

alter the venue analysis. A false statement in violation of Section 1014


intervening authority, see Miller v. Gammie, 335 F.3d 889, 900 (9th Cir.
2003) (en banc), and since Marsh was decided before both Cabrales and
Rodriguez-Moreno, there was no intervening authority upon which it
could have overruled Angotti.



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also need not have any actual effect. Because that statute punishes

false statements made “for the purpose of influencing” lenders, 18

U.S.C. § 1014, “[i]t is irrelevant whether a lending institution actually

relies upon an allegedly false statement, so long as the statement . . .

was capable of influencing the lending decision.” United States v. Real

Property 874 Gartel Drive, 79 F.3d 918, 922 (9th Cir. 1996) (per curiam).

That was the rule long before Angotti and Marsh. See United States v.

Kennedy, 564 F.2d 1329, 1340–41 (9th Cir. 1977) (“From the language of

18 U.S.C. s 1014 and the teaching of the cases, we hold that the essence

of the offense in the making of the false statement with the intent to

influence the lender is not dependent on the accomplishment of that

purpose.”). But even so, a false statement intended to influence a

lender may be prosecuted in the district where the lender transmits the

statement in assessing whether to fund the loan. Angotti, 105 F.3d at

544–45. By the same token, defendant’s false statements were

permissibly prosecuted in the district into which they were directed

based on the government’s ongoing investigation into his campaign

finance violations in that district.




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     Resolution of this appeal requires no broader holding. No one is

suggesting that Washington, D.C., would be an appropriate venue for

every Section 1001 prosecution, because “the executive, legislative,

[and] judicial branch[s] of the Government of the United States” are

headquartered there. Rather, as this Court has held, “venue may lie

only where there is a direct or causal connection,” such as when a

communication “originated, passed through, or was received” in a

particular district. United States v. Pace, 314 F.3d 344, 349–50 (9th

Cir. 2002) (additionally holding, in the context of wire fraud, that venue

would be proper in the district from which the wire communication was

“orchestrate[d]”). A “direct connection” is what the government argued

below (CR 18 at 9, 15 (“direct result”)), and is the only “effects test” at

issue here. (AOB 18.)

     In sum, because defendant’s false statements continued into the

Central District of California where he was under investigation for

accepting illegal campaign contributions at a Central District of

California fundraiser, venue was proper.




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           c.    A wall of circuit authority forecloses defendant’s
                 venue argument

     Three courts of appeals, the Second, Fourth, and Seventh Circuits,

have held, consistent with the district court’s analysis and with this

Court’s precedent, that venue for a Section 1001 prosecution is proper

in the district where the false statements were ultimately received and

had an effect. Coplan, 703 F.3d 46; Oceanpro Industries, 674 F.3d 323;

Ringer, 300 F.3d 788.

     While defendant acknowledges those cases, he makes no attempt

to distinguish them, simply arguing that they were wrongly decided.

(AOB 33–35.) But it is defendant who is mistaken — these courts of

appeals got it right, applying the well-worn venue principles discussed

above to the very offense at issue in this case.

     Coplan involved numerous defendants who created and marketed

fraudulent tax shelters. 703 F.3d at 54. One of them was later

questioned by the IRS about these shelters in a deposition and lied. But

he lied outside of the Southern District of New York, which is where he

was prosecuted — “his statements were both made and received during

[an] IRS deposition in Nashville.” Id. at 78. The defendant argued,

based on many of the same authorities defendant relies on (including


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Rodriguez-Moreno and Cabrales), that because his lies were told in-

person to IRS agents in the Middle District of Tennessee, venue for his

false-statements prosecution was only appropriate there. Id.

     The Second Circuit explained why he was wrong, applying both

the “continuing offense” analysis and the “essential conduct elements”

test. The court began by recounting its precedents holding that false

statements made in one district and “conveyed” to another district could

be prosecuted “in both jurisdictions.” Id. (citing United States v.

Candella, 487 F.2d 1223 (2d Cir. 1973), which this Court followed in

Angotti, 105 F.3d at 542). The court then concluded that the

defendant’s offense “began in Tennessee, where [he] made the false

statements to IRS officials, but continued into the Southern District of

New York, where his deposition transcript was reviewed and discussed

by IRS officials in connection with the ongoing . . . audit.” Id. at 80.

The Second Circuit also rejected the argument that Rodriguez-Moreno

changed that analysis: Rodriguez-Moreno instructed courts to look to

the “essential conduct elements” when determining where a crime takes

place, and “the essential conduct prohibited by § 1001(a)(2) is the

making of a materially false, fictitious, or fraudulent statement.” 703



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F.3d at 79. Because whether the false statements “were material

turn[ed] on the tendency or capacity of those statements to influence

the decisionmaking body at issue” — “the IRS” — and because “the IRS

investigators [were] working in the Southern District of New York” —

venue was proper there. Id. Coplan recognized that there was no

conflict between the “essential conduct elements” discussion in

Rodriguez-Moreno and the rule that false communications across

district lines continue into the receiving district. See id. at 79–80.

     Oceanpro Industries and Ringer are similarly indistinguishable

from this case. Oceanpro Industries involved corporate officers who

made (in-person) false statements to out-of-district investigators, 674

F.3d at 327, and the Fourth Circuit likewise concluded that venue was

proper in the district of investigation — reasoning that “the essential

conduct prohibited by the statute is making any materially false

statement,” “that venue is appropriate where the effects of the

defendant’s conduct are felt when Congress has defined the essential

conduct elements in terms of those effects,” and that “venue is proper in

the district where those prescribed effects would be felt.” 674 F.3d at

329 (cleaned up). Ringer followed the same logic: a prisoner made false



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statements to out-of-district federal investigators who visited him in

prison, 300 F.3d at 790, and the Seventh Circuit rejected the argument

that “the false statements began, continued, and were completed” in the

district where his prison was located, because “the investigation . . .

reasonably likely to be affected by” the false statements was in the

other district, id. at 791–92.

     The district court in this case properly relied on Coplan, Oceanpro

Industries, and Ringer, as well as the First Circuit’s decision in Salinas.

(1-ER-116–117.) 6

     Defendant quibbles with aspects of each of these three appellate

precedents foreclosing his position, but the thrust of his argument

against them appears to be that, under Gaudin, false statements to

visiting investigators do not need to be transmitted into the district of



     6 The district court relied on and quoted the part of the First

Circuit’s decision in Salinas addressing 18 U.S.C. § 1001 (1-ER-116),
not Salinas’s disagreement with this Court’s precedent in Angotti
outside of the Section 1001 context, see 373 F.3d at 166–67, which
wrongly concluded that Angotti had been overruled by Marsh and in
any event could not bind the district court. In short, Salinas concluded
that a Section 1001 false statement is more of a continuing offense than
a Section 1014 false statement — the exact opposite of defendant’s
argument to this Court. (AOB 39–40.)



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investigation in order to be material. (AOB 34–36 (citing Gaudin

twice); see also AOB 32 (“the criminal act is completed as soon as the

false statement of material fact is made”).) That is true but irrelevant.

An offense that spans districts “does not terminate merely because all of

the elements are met” in the first district. Lukashov, 694 F.3d at 1121.

Kidnapping takes place where the victim is first kidnapped, but it also

takes place in any other district where the victim is taken. See

Rodriguez-Moreno, 526 U.S. at 281. A conspiracy with overt acts in

multiple districts takes place in multiple districts, even if only one overt

act would be necessary to sustain a conviction. Id. at 281–82 (citing

Hyde, 225 U.S. at 356–67); see also Lombardo, 241 U.S. at 77 (“where a

crime consists of distinct parts which have different localities the whole

may be tried where any part can be proved to have been done”). And, as

noted, even defendant acknowledges the general rule that a

communication takes place in the district where it is received. (AOB 38

(citing Stephenson, 895 F.2d at 874, inter alia).)

     The one arguable out-of-circuit precedent defendant has on his

side is United States v. Smith, 641 F.3d 1200 (10th Cir. 2001), though

that case is sufficiently distinguishable from this one that defendant



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drops a lengthy footnote disagreeing with part of its reasoning. (AOB

29 n.*.) Defendant’s concern is warranted, because Smith specifically

noted that the false statements at issue were made in Minnesota and

were “not recorded, transcribed, or otherwise preserved for use in

Oklahoma,” where the defendant was prosecuted. 641 F.3d at 1209.

They thus had no effect on the district. That much of Smith is

consistent with Angotti: a false statement must continue (or at least be

directed) into a second district in order to be prosecuted in that district.

See Angotti, 105 F.3d at 541 (“venue was . . . proper in the Central

District, where the communication reached the audience whom it was

intended to influence”); cf. Pace, 314 F.3d at 349–50 (“venue may lie

only where there is a direct or causal connection,” such as when a

communication “originated, passed through, or was received” in a

particular district). Smith is also consistent with Cabrales’ statement

that criminal conduct can be prosecuted in another district only if it

“move[s]” in that district. 524 U.S. at 9. And Smith reaffirmed its own

circuit’s precedent that “that giving a false statement may be a

continuing offense, where the statement is ‘made’ in more than one

district,” citing a case where a defendant mailed a false document from



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one district to another. 641 F.3d at 1209 (citing United States v. Wiles,

102 F.3d 1043, 1064 (10th Cir. 1996), vacated on other grounds

by United States v. Schleibaum, 522 U.S. 945 (1997)).

     The key holding of Smith is its rejection of “a ‘substantial contacts’

test” that would allow a false-statements prosecution based on the

content of the statements — i.e., the theory that venue would be proper

in a district because the statements at issue merely “conveyed events

that occurred in” that district. 641 F.3d at 1208; see also United States

v. Acosta-Gallardo, 656 F.3d 1109, 1121 (10th Cir. 2011) (citing Smith

for that proposition). But no one is advocating for such a broad

standard here; the government does not contend that it could prosecute

defendant in Arizona because he lied to investigators in Los Angeles

about a fundraiser in Scottsdale. See Pace, 314 F.3d at 349–50

(requiring “a direct or causal connection”).

     To be sure, Smith may have been overbroad in its language,

pronouncing generally that “the locus delecti” of a Section 1001 violation

“is where the defendant makes the false statement.” 641 F.3d at 1207.

(See also AOB 28.) But it cannot categorically be true that a defendant

“makes” a false statement only in the district where he moves his



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mouth or types on his keyboard. The Tenth Circuit’s own precedent

says otherwise. See Wiles, 102 F.3d at 1064 (applying the continuing-

offense doctrine and 18 U.S.C. § 3237 in a false-statements case). 7 And

as discussed above, the locus delicti for communications exists in both

the sending and receiving districts unless limited by statute, and 18

U.S.C. § 3237 clarifies that courts should not read statutory silence as

containing any such limitation. Defendant’s lies in this case continued

into the Central District.

     3.    Venue would be proper in the Central District of
           California under any potentially applicable standard

     The record amply supported the jury’s finding, by a preponderance

of the evidence, that defendant’s material false statements and

omissions were “capable of having an effect or did have an effect within

the Central District of California.” (8-ER-1930.) There is no merit to


     7 Defendant also cites (AOB 29–30) an 11-year-old, non-

precedential Eleventh Circuit decision, United States v. John, 477 F.
App’x 570 (11th Cir. 2012), which suffers from this same erroneous
fixation on the specific statutory verbs. The district court in United
States v. Brennan, 452 F. Supp. 3d 225 (E.D. Pa. 2020), pointed out this
error in rejecting essentially the same argument advanced by
defendant. See id. at 235–36 & n.9. It also appears that the Eleventh
Circuit has not relied on (or even cited) its unpublished decision in the
decade since it was issued.



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defendant’s attempt (on appeal) to draw a distinction between that

standard and whether his false statements were “directed at” the

Central District. (AOB 39.) But under any potential standard —

whether “directed at” or any of the tests from other circuits, including

the Tenth Circuit in Smith — venue would be proper in this case.

     The district court’s instruction — whose wording defendant never

contested, other than to argue that it should not be given at all —

properly adapted venue principles to the particular elements of 18

U.S.C. § 1001. And the evidence at trial proved that defendant’s false

statements were both capable of having an effect in the Central District

of California (at the time they were made (AOB 41)) and actually did

have such an effect. The investigators travelled to Nebraska (and later

to Washington, D.C.) from the Central District. (6-ER-1231; 4-ER-652;

9-ER-2066 (listing the agents from Los Angeles).) Although defendant

did not need to know that they were from Los Angeles for venue

purposes, see United States v. Gonzalez, 683 F.3d 1221, 1226 (9th Cir.

2012), he did know, learning (and complaining about) that fact at the

beginning of the first interview. (6-ER-1243; 7-ER-1619.) Thereafter,

defendant’s counsel reached out to the U.S. Attorney’s Office in Los



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Angeles “north of a dozen times” to provide information related to the

investigation. (7-ER-1617–1620.) There was also testimony about what

the investigating agents were looking for when they interviewed

defendant: each area of inquiry necessarily implied an effect on their

Los Angeles–based investigation. (6-ER-1230.) And an agent testified

about how, after both interviews, defendant’s false statements had

caused further investigatory activity in the Central District of

California. (7-ER-1450–51.) That agent even testified that he and the

other agent took the recordings of defendant’s false statements back to

“the Central District,” where they “reviewed,” “transcribed,” and

“analyzed” them. (7-ER-1451.)

     As the prosecutor put it, arguing before the district court that the

evidence was sufficient, “it’s been clear that the Federal investigation

we’re talking about is in the Central District of California.” (7-ER-

1552.) There was no disagreement about that. The federal

investigation of Chagoury and others, including defendant (6-ER-1382–

1383 (factual stipulation)), “originated in the Central District of

California and was investigated by the FBI, U.S. Attorney’s Office, and

IRS in the Central District of California for six years. That [was] the



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home and the only home of this investigation.” (8-ER-1965 (government

closing argument).) As defense counsel put it, the government’s

evidence was that “after we recorded his statements in Washington

D.C. and after we recorded his statements in Nebraska, then we took

them back to California and then we analyzed them there and we made

some decisions there.” (9-ER-2005–2006.) Defense counsel complained

to the jury about a lack of specificity in the evidence regarding what

analyses were performed and what decisions were made (9-ER-2006),

but counsel could not contest the underlying point that whatever effect

any false statements had or were capable of having would have been in

the Central District.

     Moreover, any error in the precise formulation of the venue

instruction was harmless. Venue was proper under any conceivable

formulation of the test. Defendant’s false statements were “directed”

into the Central District (1-ER-117); they were “receiv[ed]” in the

Central District, Travis, 364 U.S. at 636; they were “propelled” into the

Central District, Johnson, 323 U.S. at 275; they “reached” the Central

District, Angotti, 105 F.3d at 542; they “reached into” the Central

District, Stephenson, 895 F.2d at 874; and they “direct[ly]” and



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“causal[ly]” affected the Central District, Pace, 314 F.3d at 349–50.

They even were “transport[ed] . . . across state lines” and “recorded,

transcribed, [and] preserved for use” in the Central District. Smith, 641

F.3d at 1208–09. Indeed, the district court would have been justified in

taking the issue from the jury and deciding it as a matter of law.

Lukashov, 694 F.3d at 1119. Once the court properly rejected

defendant’s argument that the locus delicti of a false communication is

only where the communication is made — as opposed to where it is

directed or received — no rational trier of fact could have found that

venue was not proper in the Central District of California.




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                                VI

                          CONCLUSION

    Defendant’s convictions should be affirmed.

DATED: January 27, 2023           Respectfully submitted,

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                 STATEMENT OF RELATED CASES

     The government states, under Ninth Circuit Rule 28-2.6, that it is

unaware of any cases related to this appeal that is not identified in the

appellant’s brief.
                  CERTIFICATE OF COMPLIANCE

     I certify that:

     1.    This brief complies with the length limits permitted by

Ninth Circuit Rule 32-1 because the brief contains 11,875 words,

including 182 words manually counted in images and excluding the

portions exempted by Fed. R. App. P. 32(f).

     2.    This brief complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced

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DATED: January 27, 2023             s/ Alexander P. Robbins

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